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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                        SOUTHERN DIVISION

STATE OF MISSISSIPPI, ET AL.                                               PLAINTIFFS

VS.                                    CIVIL ACTION NO. 1:22cv113-HSO-RPM

XAVIER BECERRA, in his official
capacity as Secretary of Health and
Human Services, ET AL.                              DEFENDANTS
       _______________________________________________________

                 NOTICE OF SERVICE OF DISCOVERY
        _______________________________________________________

       PLEASE TAKE NOTICE that on April 10, 2024, Plaintiffs served a true and
correct copy of Plaintiffs’ First Set of Interrogatories to Defendants on counsel of record who

have entered their appearance in this action. The undersigned has retained the original.
       THIS the 12th day of April, 2024.

                                           Respectfully submitted,
                                           LYNN FITCH
                                             Attorney General

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